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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


 UNITED STATES OF AMERICA,                        )
                                                  )
                Plaintiff,                        )
                                                  )        1:12-cr-185-05 SEB-MJD
        vs.                                       )
                                                  )
 JOHN GRICE,                                      )
                                                  )
                Defendant.                        )


              ENTRY DENYING DEFENDANT’S MOTION TO RECONSIDER
                             DETENTION ORDER
                               (Docket No. 107)

        Now before the Court is Defendant John Grice’s Motion for Reconsideration of the Order

 of Detention entered on December 26, 2012 (Dkt. Nos. 97 and 108) by the Magistrate Judge

 following a hearing conducted on December 21, 2012.              The referenced motion seeking

 reconsideration was filed on January 10, 2013 (Dkt. No. 107) and the Government’s response in

 opposition was filed on February 1, 2013 (Dkt. No. 110). No reply brief was filed by Defendant.

        Defendant is charged in Count One of a three count, multiple defendant marijuana

 conspiracy indictment. At his initial appearance, the Government sought to have him detained

 pursuant to 18 U.S.C. § 3142 on the grounds that he poses a risk of flight and a danger to the

 community. Because the Defendant is charged in a Controlled Substance Offense for which the

 sentencing range is ten years up to life imprisonment, the Government invoked the statutory

 presumption in favor of detention as the predicate for its motion.

        The evidence considered by the Magistrate Judge at the detention hearing included

 information drawn from the Pretrial Services Report showing that. Defendant has a history of daily
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 abuse of cocaine and weekly abuse of prescription opiates. That report further indicated that he had

 been unemployed for the prior eight months, which, according to Defendant, is due to his slow

 recovery from a back injury that has prevented him from working. The PSR also listed multiple

 judgments and liens against Defendant on file in Marion County, and a criminal history that reflects

 numerous arrests, three convictions including one for a prior drug offense, a prior violation of

 probation and five separate failures to appear for court hearings. ( Dkt. No. 108, p. 5 at ¶¶ 5(A), (B),

 and ©).)

        Government counsel has informed the Court that Defendant’s apprehension came as a result

 of an investigation that relied on evidence from a court ordered wiretap, that the marijuana allegedly

 being distributed by Defendant and his coconspirators was a high-grade substance, and that the

 execution of a search warrant on Defendant’s residence produced two firearms, a quantity of

 cocaine, approximately one half pound of marijuana (high grade), scales and drug packaging

 material.

        Defendant’s witnesses testified at the hearing to his forty year residency in Indianapolis, his

 established family ties and his involvement in certain community activities. The Motion to

 Reconsider recites that Defendant’s fiancee, Camille Gray, has indicated that she is able and willing

 to provide lodging for him at her Indianapolis residence, if he is released on pretrial conditions.

 Defendant’s motion further avers that if he were placed on home detention he would pose no risk

 of flight or danger to the community.

        The Magistrate Judge, having heard and considered this evidence, ordered Defendant

 detained on the grounds that, if released, no condition or combination of conditions would

 reasonably assure the appearance of the Defendant as required and the safety of any other person

 and the community, 18 U.S.C. § 3142(e), and that he posed a risk of flight and of danger to the

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 community.

        We have engaged in a de novo review of the pre-trial detention order, as required by 18

 U.S.C. § 3145(b), and conclude, consistent with the Magistrate Judge’s findings and conclusions,

 that no condition or combination of conditions imposed on the Defendant were he to be released

 would overcome the high risk that he would flee or pose a danger to the safety of the community.

 We hold that Defendant’s continued pretrial detention is necessary and appropriate under the factual

 circumstances presented to us as well as the applicable legal principles. His request for release from

 custody pending trial therefore must be DENIED.

        In reaching this decision, we adopt and incorporate herein as our own, without need of

 repetition, the statutory analysis and case law laid out in the Magistrate Judge’s Order, finding that

 analysis correct in all respects and appropriately applied here.

        As noted previously, the Government moved for Defendant’s detention pursuant to 18 U.S.C.

 § 3142(f). The charge in the Indictment against Defendant carries a possible penalty of a mandatory

 minimum sentence of ten years of imprisonment and a maximum penalty of life imprisonment.

 Pursuant to Section 3142(e)(3) of Title 18, United States Code, based on the probable cause finding

 by the judge that the Defendant committed an offense for which these penalties apply, a presumption

 arises, subject to Defendant’s rebuttal, that there is no condition or combination of conditions of

 release which will reasonably assure the appearance of the Defendant as required and the safety of

 the community or that the Defendant will not pose a serious risk of flight if released. The Magistrate

 Judge determined that this presumption was not satisfactorily rebutted by the Defendant, and we

 conclude the same in conducting our de novo review of the detention order.

        The Magistrate Judge provided in Paragraphs 8 and 9 of his order a detailed discussion of

 the factors outlined in § 3142(g) that informed in decision in favor of detention. We have no

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 disagreement with that assessment, specifically holding that Defendant’s family ties are somewhat

 tenuous given that his closest connection appears to be with his fiancee who has said she would

 allow the Defendant to live at her residence if he were released. While he reportedly has lived in

 Indianapolis most of his adult life, he does not have current employment or other significant ties to

 the community. The evidence underlying the charge against him appears compelling, the objects

 found in his home when the search warrant was executed evidence a full scale involvement in drug

 related activities (including a firearm and controlled substances and drug paraphernalia), the

 conspiracy in which he is charged names seven co-defendants, thereby suggesting an established

 network of people who might have their own interest in encouraging or enabling Defendant’s flight

 from prosecution and/or an obstruction of justice by interfering with witnesses. Defendant’s

 criminal history also includes a prior drug related conviction, numerous drug related arrests, and

 various instances of failures to appear at other court proceedings.

        All in all, pursuant to 18 U.S. C. § 3142(g), given Defendant’s personal history and

 characteristics, including his weak family ties, his lack of employment, his largely unknown

 financial resources beyond any earnings he may have had from drug dealing, his long term, frequent,

 extensive personal use of controlled substances; and given the nature and circumstances of the

 offense with which he is charged, including the heightened penalties he will face if convicted along

 with the strong weight of the evidence against him based on the wiretaps and the search warrant; and

 given the nature and seriousness of the danger posed should he be released pending trial, we

 conclude by a preponderance of the evidence that should he be released Defendant poses a clear risk

 of flight, and we also find by clear and convincing evidence that his release would pose a danger to

 the community. We draw these conclusions with little difficulty and virtually no doubt, judging that

 any relief from his current pretrial detention would be, at best, a risky bet, for which there is no

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 justification.

         Accordingly, based on our de novo review of the issue of Defendant’s detention, the

 Magistrate Judge’s Order detaining him is affirmed and the relief requested in the Motion to

 Reconsider Detention Order is DENIED.

         IT IS SO ORDERED.

 Date: 03/11/2013

                                                        _______________________________
                                                         SARAH EVANS BARKER, JUDGE
                                                         United States District Court
                                                         Southern District of Indiana


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